Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 1 of 19




               EXHIBIT B
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 2 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 3 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 4 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 5 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 6 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 7 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 8 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 9 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 10 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 11 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 12 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 13 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 14 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 15 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 16 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 17 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 18 of 19
Case 4:19-cv-00717-JST   Document 324-3   Filed 10/26/22   Page 19 of 19
